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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SUZANNE E. JONES,

                Plaintiff,

        v.                                            Civil Action No.: 4:21-cv-733

 H. NEIL MATKIN, in his personal and
 official capacity; TONI JENKINS, in her
 personal and official capacity; and COLLIN
 COLLEGE,

                Defendants.


  PLAINTIFF SUZANNE JONES’ UNOPPOSED MOTION FOR AN EXTENSION OF
  TIME TO RESPOND TO INDIVIDUAL DEFENDANTS’ MOTIONS FOR PARTIAL
      SUMMARY JUDGMENT AND TO STAY AND/OR LIMIT DISCOVERY

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule CV-7, Plaintiff Suzanne

Jones respectfully requests: (1) that the deadline for responding to the motion for partial

summary judgment of Defendants H. Neil Matkin and Toni Jenkins in their individual capacities

[Dkt. 9] be extended by fourteen (14) days from March 3, 2022, to March 17, 2022; and (2) the

deadline for responding to the motion to stay and/or limit discovery of Defendants Matkin and

Jenkins in their individual capacities [Dkt. 8] be extended by fourteen (14) days from February

24, 2022, to March 10, 2022. Plaintiff states the following in support of showing good cause

exists for granting this motion:

       1.      On September 22, 2021, Plaintiff filed her complaint [Dkt. 1].

       2.      On December 21, 2021, Defendants filed their first amended answer to Plaintiff’s

complaint [Dkt. 5].
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       3.      On February 10, 2022, Defendants Matkin and Jenkins in their individual

capacities filed their motion to stay and/or limit discovery [Dkt. 8]. Plaintiff’s current deadline to

respond to the motion to stay and/or limit discovery of Defendants Matkin and Jenkins is

February 24, 2022.

       4.      On February 10, 2022, Defendants Matkin and Jenkins in their individual

capacities filed their motion for partial summary judgment on qualified immunity [Dkt. 9].

Plaintiff’s current deadline to respond to the motion for partial summary judgment of Defendants

Matkin and Jenkins is March 3, 2022.

       5.      On February 14, 2022, the undersigned counsel filed their entry of appearance and

application to appear pro hac vice on behalf of Plaintiff, who has chosen to transition her case to

the undersigned counsel.

       6.      In order to allow the undersigned counsel sufficient time to transition Plaintiff’s

case file to their organizations and review the voluminous documents associated with

Defendants’ motions, Plaintiff requests: (1) the deadline for responding to the motion for partial

summary judgment of Defendants Matkin and Jenkins in their individual capacities [Dkt. 9] be

extended by fourteen (14) days from March 3, 2022, to March 17, 2022; and (2) the deadline for

responding to the motion to stay and/or limit discovery of Defendants Matkin and Jenkins in

their individual capacities [Dkt. 8] be extended by fourteen (14) days from February 24, 2022, to

March 10, 2022.




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       7.     This is Plaintiff’s first request for an extension of these deadlines. Plaintiff’s

counsel has conferred with Defendants’ counsel, and Defendants do not oppose the requested

extensions.

Dated: February 18, 2022




                                                      Respectfully submitted,


                                                      /s/ ROBERT W. SCHMIDT
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                                                      /s/ Joshua Bleisch
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                                                      Counsel for Plaintiff Suzanne Jones




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                                  CERTIFICATE OF SERVICE

Plaintiff’s counsel confirms that a true and correct copy of the foregoing was served via the Court’s
electronic filing system on this day, February 18, 2022.
                                                                                /s/ Josh Bleisch
                                                                                Josh Bleisch

                               CERTIFICATE OF CONFERENCE

Plaintiff’s counsel confirms that counsel conferred about this motion, and that Defendants do not
oppose this motion.
                                                                               /s/ Josh Bleisch
                                                                               Josh Bleisch




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